                            UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF KANSAS AT KANSAS CITY


                                                               Chapter 11
In re
                                                               Case No. 16-21142 (RDB)
JOHN Q. HAMMONS FALL 2006, LLC, et al.,                        Jointly administered

               Debtors.

THE REVOCABLE TRUST OF JOHN Q.
HAMMONS DATED DECEMBER 28, 1989 AS
AMENDED AND RESTATED;

               Plaintiff,                                      Adversary Proceeding No. ______

               vs.

AJJ  HOTEL  HOLDINGS,     INC., KENT
BRUGGEMAN, MICHAEL CONWAY, MICHAEL
KAMMERER,   AND   WINEGARDNER      &
HAMMONS HOTEL GROUP, LLC;

               Defendants.


                                   VERIFIED COMPLAINT

         The Revocable Trust of John Q. Hammons, as amended and restated (the “JQH Trust” or

Plaintiff"), hereby files this Complaint against AJJ Hotel Holdings, Inc. (“AJJ Hotel Holdings”),

Winegardner & Hammons Hotel Group, LLC (“WHG”), Michael Conway, Kent Bruggeman,

and Michael Kammerer (collectively with AJJ and WHG, “Defendants”). In support thereof, the

Plaintiff states the following facts and allegations which, along with the accompanying motion

filed with this Complaint (the “Motion”), are supported by Mr. Groves’ verification

accompanying both this Complaint and the Motion, in which he swears that the facts set forth

herein and in the Motion are true and correct to the best of his knowledge.




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                                      INTRODUCTION

               1. The JQH Trust owns a 50% membership interest (the “JQH Interest”) in an

entity known as W&H Realty, LLC (“WHR”). The JQH Interest is property of the JQH Trust’s

bankruptcy estate.

               2. The value of the JQH Interest is being diminished by the Defendants named

herein, who are breaching their fiduciary duties to WHR and the JQH Trust by usurping and

taking for themselves a corporate opportunity belonging to WHR, and thereby unjustly enriching

themselves at the JQH Trust’s expense.

               3. As more particularly alleged herein, WHR and non-party Western & Southern

Life (“W&S”) jointly own a number of assets, including a Holiday Inn hotel near the Cincinnati

airport (the “Cincinnati Hotel”).

               4. The JQH Trust has been apprised that W&S intends to sell its 75% interest in

the Cincinnati Hotel (the “Cincinnati Hotel Opportunity”).

               5. As a current owner, WHR is the natural buyer for this interest.

               6. But certain Defendants named herein, who are current or former officers of

WHR, negotiated a deal in which WHR would purchase only some of the Cincinnati Hotel,

while these officers (and their co-conspirators) kept some of this lucrative investment for

themselves.

               7. When the JQH Trust objected to this arrangement, and stated that WHR must

receive the entirety of this investment opportunity (to which it is entitled), the Defendants set

about taking away the entire investment from WHR and keeping it for themselves, in blatant

disregard of their fiduciary duties to WHR and the JQH Trust.




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                 8. The investment in the Cincinnati Hotel is extremely valuable, and has been

referred to by the Defendants as an “off-market” purchase. By wrongfully excluding WHR from

this opportunity, Defendants are harming WHR, and the JQH Trust, and unjustly enriching

themselves.

                 9. By this action, Plaintiff seeks to stop Defendants from, inter alia, breaching

their fiduciary duties by usurping a corporate opportunity of WHR and unjustly enriching

themselves.

                                     JURISDICTION AND VENUE

                 10. On June 26, 2016 (the “Commencement Date”) the Debtors,1 including the

JQH Trust, commenced chapter 11 bankruptcy cases by filing their bankruptcy petitions.

Thereafter, four additional Debtors commenced chapter 11 bankruptcy cases in this court.2

                 11. Since the Commencement Date, the Debtors have continued in possession of

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  The Debtors are John Q. Hammons Fall 2006, LLC, ACLOST, LLC, Bricktown Residence Catering Co., Inc.,
Chateau Catering Co., Inc., Chateau Lake, LLC, Civic Center Redevelopment Corp., Concord Golf Catering Co.,
Inc., Concord Hotel Catering Co., Inc., East Peoria Catering Co., Inc., Fort Smith Catering Co., Inc.,
Franklin/Crescent Catering Co., Inc., Glendale Coyotes Catering Co., Inc., Glendale Coyotes Hotel Catering Co.,
Inc., Hammons, Inc., Hammons of Colorado, LLC, Hammons of Franklin, LLC, Hammons of Huntsville, LLC,
Hammons of Lincoln, LLC, Hammons of New Mexico, LLC, Hammons of Oklahoma City, LLC, Hammons of
Richardson, LLC, Hammons of Rogers, Inc., Hammons of Sioux Falls, LLC, Hammons of South Carolina, LLC,
Hammons of Tulsa, LLC, Hampton Catering Co., Inc., Hot Springs Catering Co., Inc., Huntsville Catering, LLC,
International Catering Co., Inc., John Q. Hammons 2015 Loan Holdings, LLC, John Q. Hammons Fall 2006, LLC,
John Q. Hammons Hotels Development, LLC, John Q. Hammons Hotels Management I Corporation, John Q.
Hammons Hotels Management II, LP, John Q. Hammons Hotels Management, LLC, Joplin Residence Catering Co.,
Inc., JQH – Allen Development, LLC, JQH – Concord Development, LLC, JQH – East Peoria Development, LLC,
JQH - Ft. Smith Development, LLC, JQH – Glendale AZ Development, LLC, JQH - Kansas City Development,
LLC, JQH – La Vista Conference Center Development, LLC, JQH - La Vista CY Development, LLC, JQH - La
Vista III Development, LLC, JQH - Lake of the Ozarks Development, LLC , JQH – Murfreesboro Development,
LLC, JQH – Normal Development, LLC, JQH – Norman Development, LLC, JQH – Oklahoma City Bricktown
Development, LLC, JQH – Olathe Development, LLC, JQH – Pleasant Grove Development, LLC, JQH – Rogers
Convention Center Development, LLC, JQH – San Marcos Development, LLC, Junction City Catering Co., Inc.,
KC Residence Catering Co., Inc., La Vista CY Catering Co., Inc., La Vista ES Catering Co., Inc., Lincoln P Street
Catering Co., Inc., Loveland Catering Co., Inc., Manzano Catering Co., Inc., Murfreesboro Catering Co., Inc.,
Normal Catering Co., Inc., OKC Courtyard Catering Co., Inc., R-2 Operating Co., Inc., Revocable Trust of John Q.
Hammons Dated December 28, 1989 as Amended and Restated, Richardson Hammons, LP, Rogers ES Catering
Co., Inc., SGF – Courtyard Catering Co., Inc., Sioux Falls Convention/Arena Catering Co., Inc., St Charles Catering
Co., Inc., Tulsa/169 Catering Co., Inc., and U.P. Catering Co., Inc.
2
 Those additional debtors are: City Centre Hotel Corporation; Hammons of Arkansas, LLC; Hammons of Frisco,
LLC; and John Q. Hammons Center, LLC.

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their property and control of their operations pursuant to §§ 1107 and 1108 of title 11 of the

United States Code (the “Bankruptcy Code”), including but not limited to the JQH Interest.

               12. Venue is appropriate pursuant to 28 U.S.C. § 1409(a) because this Complaint

constitutes a proceeding arising under title 11 or arising in or related to a case under title 11 that

is currently pending before the United States Bankruptcy Court for the District of Kansas.

               13. The Court has jurisdiction of this Complaint pursuant to 28 U.S.C. § 1334(a).

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) in that it, inter alia, concerns the

administration of the estate, concerns claims that arise out of an operating agreement entered into

in connection with a post-petition restructuring of the JQH Trust’s assets approved in bankruptcy

by this Court and that accrued to the JQH Trust as Debtor-in-possession after it commenced

proceedings under Chapter 11, and/or affects the liquidation of the assets of the estate.

               14. This Court has the power to enter the requested relief pursuant to § 105(a) of

the Bankruptcy Code, and Fed. R. Bankr. P. 7065, as incorporating Fed. R. Civ. P. 65.

                                             PARTIES

               15. Plaintiff JQH Trust is a trust formed by the late John Q. Hammons. It is a

debtor-in-possession in this Chapter 11 proceeding currently pending before this Court. The Co-

Trustees of the JQH Trust are Jacqueline Dowdy (“Ms. Dowdy“) and Greggory Groves (“Mr.

Groves”). Ms. Dowdy is also the co-manager of WHR. The JQH Trust presently owns the JQH

Interest.

               16. Defendant AJJ Hotel Holdings is an Ohio corporation with its principal place

of business in Cincinnati, Ohio. Defendant AJJ Hotel Holdings was formed by three trusts that

exist for the separate benefit of Ann Winegardner, Jane Winegardner, and Jill Maple, the widow




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and two daughters of the late Roy E. Winegardner, respectively (collectively, the “REW

Trusts”). Defendant AJJ Hotel Holdings presently owns a 50% membership interest in WHR.

                   17. Defendant Michael Conway was the President of WHR until he abruptly

resigned on March 19, 2018. He is currently the Chairman and Chief Portfolio Officer of

Defendant WHG.

                   18. Defendant Kent Bruggeman is a Vice President and the Chief Financial

Officer of WHR.         Defendants Conway and Bruggeman are collectively referred to as the

“Officer Defendants.”

                   19. Defendant Michael Kammerer is a co-trustee of the REW Trusts and the other

co-manager of WHR.

                   20. Defendant WHG is a Delaware corporation with its principal place of business

in Cincinnati, Ohio.       Defendant WHG is owned by Pyramid Hotel Group (“Pyramid”), a

privately owned full-service hotel and resort company based in Boston, Massachusetts.

                                    FACTUAL ALLEGATIONS

              A.      The JQH Trust Bankruptcy Estate’s Interest in WHR

                   21. In the 1950s, John Q. Hammons recognized a growing need for quality hotels

throughout the country. As a successful real estate investor and developer, Mr. Hammons had

the experience and knowledge required to achieve his ambitions. In 1958, he partnered with Roy

Winegardner, and the two purchased ten Holiday Inn hotel franchises.               Hammons and

Winegardner went on to found Winegardner and Hammons, Inc. (“WHI”) and developed a total

of 67 Holiday Inn hotels. A separate entity, W&H Realty, Inc. (“W&H”), was formed in 1993 to

hold the real estate interests developed by WHI.

                   22. At the time of Winegardner’s death on September 30, 2009, Winegardner and

Hammons (through the JQH Trust) each owned approximately 45% of the shares of WHI and
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W&H. Eric J. Kamjford owned the remaining 10% of shares in WHI and W&H.                  Following

Winegardner’s death, his 45% interest in WHI and W&H passed to his trust and subsequently to

the REW Trusts.

                   23. Kamjford would later transfer his 10% ownership of shares in WHI and

W&H. As a result, the REW Trusts’ and JQH Trust’s respective shares of ownership in WHI

and W&H each increased to 50%.

                   24. In November 2015, WHI partnered with Pyramid to form a new company,

Defendant WHG. The new partnership was designed to allow WHI and Pyramid to share hotel

development opportunities and revenue management platforms. Upon information and belief,

each of the Officer Defendants holds a position with Defendant WHG, which is controlled by

Pyramid.

                   25. On June 26, 2016, the JQH Trust filed a Chapter 11 bankruptcy petition along

with a significant number of its affiliates. As a result of the JQH Trust’s bankruptcy filing, the

JQH Trust’s ownership interests in WHI and W&H became property of the JQH Trust’s

bankruptcy estate.

                   26. These interests would later be merged pursuant to a Court-authorized

restructuring sought by Debtors, which resulted in the creation of WHR and Defendant AJJ

Hotel Holdings. Defendant AJJ Hotel Holdings and the JQH Trust each now own 50% of WHR.

              B.      WHR’s Corporate Opportunity

                   27. On January 8, 2018, one or more of the Officer Defendants presented a

corporate opportunity to the members of WHR, which included the JQH Trust through its co-

trustee Ms. Dowdy, and in her capacity as co-manager of WHR on behalf of the JQH Trust.

                   28. The corporate opportunity concerned W&S’s willingness to sell to WHR, its

current partner, W&S’s 75% interest in the Cincinnati Hotel (WHR presently owns the
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remaining 25% interest) at an off-market price of $17,750,000. That figure is well below the

$20,000,000-plus valuation ascribed to the Cincinnati Hotel by Defendant Conway.

                   29. The opportunity was negotiated by Defendants Conway and Bruggeman, each

of whom were, at the time, officers of WHR, and memorialized in a preliminary commitment

letter sent by W&S and signed by Terry Dammeyer, President and Chief Construction and

Development Officer of Defendant WHG. That letter referenced W&S’s understanding that

Defendant WHG was “acting on behalf of the third-party buyer,” which was WHR.

                   30. In addition to the favorable price agreed to by W&S, the presentation noted

other terms that would make the acquisition of the Cincinnati Hotel an extremely valuable

acquisition for WHR. WHR would be entitled to a 10% preferred return on its equity without

having to make any additional equity contributions beyond initial sale proceeds. Moreover,

InterContinental Hotels Group, owner of the Holiday Inn franchise, had preliminarily agreed that

“no change of ownership PIP will be required if WHR acquires W&S interest in the hotel,” thus

avoiding the need for WHR to invest substantial sums on property improvement plans.

              C.      Certain of the Defendants’ Opposition to JD Holdings’ Acquisition of the
                      WHR Interest and Current Attempt to Usurp the Cincinnati Hotel
                      Opportunity

                   31. On February 13, 2018, the JQH Trust and related Debtors filed before this

Court their Motion for Authority to Enter into Plan Support Agreement and Compromise of

Claims, which sought approval of a Plan Support Agreement and Claim Allowance and

Settlement Agreement by and between JD Holdings, L.L.C. (“JD Holdings”), and the JQH Trust

and its related Debtors (collectively, the “Plan Support Agreement”).

                   32. The Plan Support Agreement resolves numerous, multi-year disputes between

the parties thereto, including over 150 proofs of claim filed by JD Holdings in the JQH Trust’s

and related Debtors’ bankruptcy cases.
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                33. Pursuant to the Plan Support Agreement, the JQH Trust is obligated, inter

alia, to support the confirmation and implementation of JD Holdings’ Plan, by which, inter alia,

JD Holdings will acquire the JQH Interest, among other assets of the estate.

                34. Shortly thereafter, counsel for WHR requested a conference call with JD

Holdings. Counsel for WHR explained that WHR had a “major concern” regarding several

WHR projects, including the purchase of the Cincinnati Hotel, scheduled to close prior to the

proposed effective date of JD Holdings’ Plan. According to counsel, WHR needed “to know that

the chapter 11 plan sale process will not hinder, delay or prevent closing for all of these

projects.”

                35. One week later, on February 21, 2018, JD Holdings’ representatives and

Defendants Bruggeman and Kammerer, among others, participated in a lengthy telephone

conference to discuss, inter alia, the Cincinnati Hotel Opportunity.              During this telephone

conference, Defendants stated that they contemplated acquiring the Cincinnati Hotel with equity

contributed by WHR and an “executive pool” consisting of Defendants Conway and Bruggeman,

and certain other undisclosed executives of WHG and Pyramid.

                36. Shortly after the telephone conference and consistent with her authority as co-

manager of WHR, Ms. Dowdy instructed WHR to cease pursuing all corporate opportunities

pending JD Holdings’ review given that the JQH Interest is one of the assets that will be

purchased by JD Holdings as part of its Plan. To assist JD Holdings’ review, Ms. Dowdy

promptly sent Defendant AJJ Hotel Holdings a letter containing certain information requests

concerning the Cincinnati Hotel Opportunity on behalf of JD Holdings.3



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  Despite the fact that Ms. Dowdy, as co-manager WHR, and the JQH Trust had an unrestricted right to this
information, Defendant AJJ Hotel Holdings has refused to allow WHR to provide it, which necessitated the JQH
Trust filing a motion for turnover of this information.
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                37. On February 27, 2018, Defendant AJJ Hotel Holdings appeared in the JQH

Trust’s bankruptcy case to file an objection to the Plan Support Agreement. In its objection,

Defendant AJJ Hotel Holdings noted that it intended to object to JD Holdings’ Plan insofar as the

Plan would have JD Holdings acquire the JQH Interest.

                38. On March 1, 2018, Ms. Dowdy informed Defendant AJJ Hotel Holdings and

WHR that she would consent to the Cincinnati Hotel Opportunity, provided that WHR receive

the entirety of this opportunity, stating: “I hereby approve the Company’s purchase of Western &

Southern’s 75% interest in the Cincinnati Airport Holiday Inn at the price previously agreed to,

provided that the Company purchases the entirety of the interest rather than sharing this

corporate opportunity with outsiders such as personnel associated with Pyramid.”

                39. On March 6, 2018, the Court orally approved the Plan Support Agreement at a

hearing over Defendant AJJ Hotel Holdings’ objection. Despite the Court’s approval of the Plan

Support Agreement, WHR, at the direction of Defendants AJJ Hotel Holdings, continued to deny

Plaintiff JQH Trust certain information it had requested on its behalf, on behalf of JD Holdings,

including but not limited to, information concerning the Cincinnati Hotel Opportunity.

                40. On March 12, counsel for Defendant AJJ Hotel Holdings sent a letter to Ms.

Dowdy and the JQH Trust's counsel. That letter argued that any information requests concerning

the Cincinnati Hotel Opportunity were moot because Defendant “AJJ has no further interest in

WHR acquiring the position held by Western & Southern (“W&S”) in the Cincinnati Airport

Holiday Inn.”

                41. The same day, however, Defendant Conway informed Mr. Groves of the real

reason that Defendant AJJ Hotel Holdings had “no further interest in WHR acquiring” the

Cincinnati Hotel, which is that Defendant AJJ Hotel Holdings and/or Defendants Conway and


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Bruggeman, and certain other undisclosed executives of Defendant WHG and Pyramid, intend to

acquire the Cincinnati Hotel Opportunity for themselves and to the detriment of WHR and the

JQH Interest. As Defendant Conway admitted in an email to Mr. Groves, “W&S/Eagle Realty

Group are planning to sell the hotel to a smaller group of investors including PHG [Pyramid]

and WHG executives and will not include WHR . . .”4

                 42. The Defendants have thus admitted that they intend to take the Cincinnati

Hotel Opportunity for themselves, harming WHR and the JQH Interest in the process.

According to the preliminary commitment letter included in the original presentation to the

WHR board concerning the Cincinnati Hotel Opportunity, the period for due diligence is set to

close on March 31, 2018 (the “Due Diligence Period”). Closing shall occur on or before 60 days

following the Due Diligence Period (the “Closing Deadline”).                      Defendants thus intend to

imminently usurp the Cincinnati Hotel Opportunity and harm the JQH Trust’s bankruptcy estate.

    COUNT I: BREACH OF FIDUCIARY DUTY AND REQUEST FOR DECLARATORY
                                  RELIEF
                           (Against all Defendants)

                 43. Plaintiff hereby incorporates by reference paragraphs 1 through 42 of this

Complaint.

                 44. Defendants each owe fiduciary duties to WHR and to the JQH Trust as a

member of WHR.

                 45. Defendants have breached their fiduciary duties to WHR and Plaintiff JQH

Trust, including their duty of loyalty, by appropriating for themselves the Cincinnati Hotel

Opportunity.



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  Upon obtaining discovery of the identities of these Pyramid executives, Plaintiff intends to amend this Complaint
to name as defendants these Pyramid executives and/or Pyramid (should discovery reveal that these executives were
acting on Pyramid’s behalf).
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               46. Plaintiff has been damaged as a direct and proximate result of Defendants’

breach of their fiduciary duty of loyalty to WHR and the JQH Trust.

               47. Plaintiff will be further damaged if some or all of the Defendants are allowed

to purchase the 75% interest of W&S in the Cincinnati Hotel.

               48. Upon information and belief, Defendants deny that they have breached a

fiduciary to Plaintiff. Thus, an actual case or controversy exists.

COUNT II: UNJUST ENRICHMENT AND REQUEST FOR DECLARATORY RELIEF
                       (Against all Defendants)

               49. Plaintiff hereby incorporates by reference paragraphs 1 through 48 of this

Complaint.

               50. The Cincinnati Hotel Opportunity belongs to WHR.

               51. Defendants have and will continue to personally benefit at the expense of

WHR and Plaintiff JQH Trust by appropriating for themselves the Cincinnati Hotel Opportunity.

               52. As a result of Defendants’ conduct, Defendants are and will continue to be

unjustly enriched at the expense of WHR and the JQH Trust.

               53. Upon information and belief, Defendants deny that they have been, or will be,

unjustly enriched at Plaintiff's expense. Thus, an actual case or controversy exists.

  COUNT III: CIVIL CONSPIRACY AND REQUEST FOR DECLARATORY RELIEF
                          (Against all Defendants)

               54. Plaintiff hereby incorporates by reference paragraphs 1 through 53 of this

Complaint.

               55. Defendants understood that the Cincinnati Hotel Opportunity rightly belonged

to WHR and that, by misappropriating this opportunity, they were committing a wrongful act.




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                   56. Defendants acted, and continue to act, in concert with each other5 to purposely

take for themselves the Cincinnati Hotel Opportunity while knowing that the Cincinnati Hotel

Opportunity rightly belongs to WHR.

                   57. Defendants’ actions were in, and are, furtherance of, and resulted in, the

breach of fiduciary duties owed to WHR and Plaintiff JQH Trust, referenced in Count I of this

Complaint, which has caused, and continues to cause, harm to WHR and Plaintiff JQH Trust.

                                          DEMAND FOR RELIEF

                   WHEREFORE, Plaintiff, the JQH Trust, requests that the Court:

              A.      Immediately enter a temporary restraining order barring Defendants from

                      executing or closing, or aiding or assisting any party other than WHR from

                      executing or closing, any transaction involving the Cincinnati Airport Hotel

                      for a period of fourteen (14) days;

              B.      Schedule a hearing for Plaintiff's request for a preliminary injunction for a

                      date prior to the expiration of the initial fourteen day term of the temporary

                      restraining order;

              C.      Upon a hearing, enter a preliminary injunction barring Defendants from

                      executing or closing, or aiding or assisting any party other than WHR from

                      executing or closing, any transaction involving the Cincinnati Airport Hotel

                      pending Plaintiff’s request for a permanent injunction;

              D.      Upon issuance of a preliminary injunction and at a time proposed by Plaintiff,

                      convert the preliminary injunction into a permanent injunction.

              E.      Award any other relief that the Court deems just and proper.

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  Defendants have admitted that there are other unknown actors with whom Defendants are acting in concert to
misappropriate the Cincinnati Hotel Opportunity from WHR. See supra ¶¶ 35, 41. Upon obtaining appropriate
discovery, Plaintiff intends to amend this Complaint to add these additional co-conspirators as additional defendants.
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 Dated: March 23, 2018

                                               STINSON LEONARD STREET LLP

                                               By: /s/ Nicholas J. Zluticky
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                                       VERIFICATION

         The undersigned, Greggory Groves, pursuant to 28 U.S.C. § 1746, hereby declares under

penalty of perjury that the foregoing facts set forth in this Verified Complaint are true and

correct.

Dated: March 23,2018




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